Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3308 Page 1 of 6
Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3309 Page 2 of 6
Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3310 Page 3 of 6
Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3311 Page 4 of 6
Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3312 Page 5 of 6
Case 2:09-cr-00075-LRS   ECF No. 555   filed 07/22/10   PageID.3313 Page 6 of 6
